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 5
     Attorney for Defendant,
 6   MARK BAGDASARIAN
 7

 8                  IN THE UNITED STATES DISTRICT COURT
 9                EASTERN DISTRICT OF CALIFORNIA, FRESNO
10
     UNITED STATES OF AMERICA,           ) Case No.: 1:11-CR-352 LJO-SKO
11                                       )
               Plaintiff,                )
12                                       ) AMENDED STIPULATION AND
         vs.                             ) ORDER TO CONTINUE STATUS
13                                       ) CONFERENCE HEARING
                                         )
14                                       )
     MARK BAGDASARIAN,                   )
15   RYAN BAGDASARIAN,                   ) DATE: April 15, 2013
                                         ) TIME: 1:00 p.m.
16             Defendants.               ) Hon. Shiela K. Oberto
17

18       The United States of America, by and through Benjamin B.
19   Wagner, United States Attorney, and Elana S. Landau, Assistant
20   United States Attorney, and the defendants, by and through their
21   attorneys, hereby stipulate and agree that the status conference in
22   this case, previously scheduled for April 15, 2013, at 1:00 p.m.,
23   be continued until June 3, 2013, at 1:00 p.m. before the Honorable
24   Sheila K. Oberto.
25       The reason for this request is the parties’ need further plea
26   negotiations. The parties have agreed that the requested date
27   represents the earliest date that all counsel are available, taking
28   into account their schedules and commitments to other clients, and
                                          - 1 -
         Amended Stipulation and [Proposed] Order to Continue Status Conference
                              CASE NO.: 1:11-CR-352 LJO-SKO
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 1   the need for preparation in the case.
 2       The parties agree that time shall be excluded to and through
 3   the date of the status conference in that failure to grant the
 4   requested continuance would unreasonably deny the defendants
 5   continuity of counsel, and unreasonably deny both the defendants
 6   and the government the reasonable time necessary for effective
 7   preparation, taking into account the parties’ due diligence in
 8   prosecuting this case and that, based on the reasons articulated,
 9   that the continuance in the “ends of justice” outweighs the
10   interest of the public and defendant in a speedy trial under the
11   Speedy Trial Act. 18 U.S.C. §3161(h)(7)(B)(iv).
12

13
                                             Respectfully submitted,

14                                           BENJAMIN B. WAGNER
                                             United States Attorney
15

16   DATED: April 11, 2013                    /s/ Elana S. Landau
                                              ELANA S. LANDAU
17                                            Assistant United States
18                                            Attorney

19
     DATED: April 11, 2013                    /s/ Anthony P. Capozzi
20                                            Anthony P. Capozzi
21
                                              Attorney for Defendant
                                              Mark Bagdasarian
22
     DATED: April 11, 2013                    /s/ Charles J. Lee
23
                                              Charles J. Lee
24                                            Attorney for Defendant
                                              Ryan Bagdasarian
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                                          - 2 -
         Amended Stipulation and [Proposed] Order to Continue Status Conference
                              CASE NO.: 1:11-CR-352 LJO-SKO
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 1                                                 ORDER
 2

 3          For the reasons set forth above, the continuance requested by
 4   the parties is granted for good cause and time is excluded under
 5   the Speedy Trial Act from April 15, 2013, to, and including, June
 6   3, 2013, based upon the Court’s finding that the ends of justice
 7   outweigh the public’s and defendant’s interest in a speedy trial.
 8   18 U.S.C. §3161 (h)(7)(A).
 9          IT IS ORDERED that the Status Conference currently scheduled
10   for April 15, 2013, at 1:00 p.m. is continued to June 3, 2013, 1:00
11   p.m.               If the parties are unable to resolve the case before that
12   date, they shall be prepared to select a mutually agreeable trial
13   date before United States District Judge Lawrence J. O’Neill.
14

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     IT IS SO ORDERED.
18

19     Dated:                     April 11, 2013           /s/ Sheila K. Oberto
                                                    UNITED STATES MAGISTRATE JUDGE
20          DEAC_Signature-END:




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                                             - 3 -
            Amended Stipulation and [Proposed] Order to Continue Status Conference
                                 CASE NO.: 1:11-CR-352 LJO-SKO
